
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 96-1688

                            VICTOR SANTIAGO-MATEO, ET AL.,

                               Plaintiffs - Appellees,

                                          v.

                              MIGUEL A. CORDERO, ET AL.,

                               Defendants - Appellants.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                   [Hon. Salvador E. Casellas, U.S. District Judge]
                                               ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                           Selya and Stahl, Circuit Judges.
                                            ______________

                                _____________________

               Jorge Rodr guez-Micheo, with  whom Benicio S nchez-La  Costa
               ______________________             _________________________
          and Goldman Antonetti &amp; C rdova were on brief for appellants.
              ___________________________
               Carlos A. del Valle-Cruz for appellees.
               ________________________



                                 ____________________

                                    March 20, 1997
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                    TORRUELLA, Chief Judge.   Eight employees of the Puerto
                    TORRUELLA, Chief Judge.
                               ___________

          Rico Electric Power Authority ("PREPA") filed a section 1983 suit

          against  PREPA  and  Miguel  A.  Cordero  ("Cordero"),  Executive

          Director of PREPA.   See 42 U.S.C.   1983.   Plaintiffs-appellees
                               ___

          allege  that  they  were  demoted from  their  positions  as area

          engineers and  assistant chief of  supply, in violation  of their

          First Amendment right to freedom of association, because of their

          political affiliation  with the  Popular Democratic  Party (PDP).

          In June  1994, defendants-appellants  filed a motion  for summary

          judgment with respect to  the seven plaintiffs who had  been area

          engineers.  The motion  for summary judgment was premised  on two

          different  theories.   First, it  alleged that  plaintiffs' First

          Amendment claim is without merit because political affiliation is

          an  appropriate requirement  for the  position of  area engineer.

          Second,  it  argued  that  co-defendant Cordero  is  entitled  to

          qualified immunity.  Defendants'  motion for summary judgment was

          denied  by the  district court  on March  29, 1996.   Defendants-

          appellants now  appeal  with respect  to  co-defendant  Cordero's

          entitlement to  summary judgment on  qualified immunity  grounds.

          Finding that we lack jurisdiction, we dismiss the appeal.

                    Public officials alleged to have committed civil rights

          violations  are  entitled  to  raise  the  defense  of  qualified

          immunity.    The  defense  is  not  available,  however,  if  the

          official's  conduct violates  a  federal right  that was  clearly

          established  at  the time  of the  infringement.   See  Harlow v.
                                                             ___  ______




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          Fitzgerald,  457 U.S.  800, 818-19 (1982);  Stella v.  Kelley, 63
          __________                                  ______     ______

          F.3d 71, 73 (1st Cir. 1995).

                    Because the doctrine of qualified  immunity is intended

          to  shield government officials from trial as well as from damage

          awards, the defense may be asserted  in a pretrial motion and, if

          that  motion  is  rejected,  immediate appellate  review  may  be

          available.   See  Siegert v.  Gilley, 500  U.S. 226,  232 (1991);
                       ___  _______     ______

          Mitchell v. Forsyth,  472 U.S. 511, 530 (1985);  Guzm n-Rivera v.
          ________    _______                              _____________

          Rivera-Cruz, 98 F.3d 664, 666-67 (1st Cir. 1996); Stella, 63 F.3d
          ___________                                       ______

          at 73.

                    In  Johnson v.  Jones,  __ U.S.  __,  115 S.  Ct.  2151
                        _______     _____

          (1995), the  Supreme Court held  that "a  defendant, entitled  to

          invoke a  qualified-immunity defense,  may not appeal  a district

          court's summary  judgment order insofar as  that order determines

          whether or not the  pretrial record sets forth a  'genuine' issue

          of fact  for trial."    Id. at  2159.   In  Johnson, a  plaintiff
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          brought suit against five police officers, claiming that they had

          used excessive force in arresting him.  The district court denied

          a  motion  for  summary  judgment based  on  qualified  immunity,

          finding that  there were  issues of  material fact  sufficient to

          defeat summary judgment.  The Seventh Circuit held that it lacked

          jurisdiction and dismissed the appeal.  The Supreme Court granted

          certiorari and held that no appellate jurisdiction exists where a

          defendant  appeals a  denial  of summary  judgment  based on  the

          grounds that there exist genuine issues of material fact.  Id.
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                    This court  dealt with  a  similar issue  in Stella  v.
                                                                 ______

          Kelly.  In Stella,  former members of the Zoning Board of Appeals
          _____      ______

          for  the Town of Tewksbury, Massachusetts,  alleged that they had

          been removed  from the board as  a result of votes  they had cast

          while  on the board.   Stella, 63  F.3d at 72-73.   The complaint
                                 ______

          consisted  of two allegations -- first, that their firing was the

          result of their voting patterns and,  second, that this infringed

          a  constitutionally protected free speech right.  Id.  This court
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          noted that under Johnson:
                           _______

                      a district court's pretrial  rejection of
                      a  proffered  qualified immunity  defense
                      remains   immediately  appealable   as  a
                      collateral  order to  the extent  that it
                      turns on a pure issue of  law . . . .  On
                      the  other  hand,   a  district   court's
                      pretrial   rejection   of   a   qualified
                      immunity   defense  is   not  immediately
                      appealable to the extent that it turns on
                      either  an  issue  of  fact  or an  issue
                      perceived by the district  court to be an
                      issue of fact.

                                        * * *

                      The bottom  line, then, is simply this: a
                      summary  judgment order  which determines
                      that the  pretrial  record sets  forth  a
                      genuine issue of  fact, as  distinguished
                      from  an  order  that determines  whether
                      certain  given  facts demonstrate,  under
                      clearly established law,  a violation  of
                      some  federally  protected right,  is not
                      reviewable on demand.

          Id. at 74.
          ___

                    The instant  case is controlled by  Johnson and Stella.
                                                        _______     ______

          The district  court's Order  denying the summary  judgment motion

          reads, in part:



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                      Upon  review  of the  parties' documents,
                      this Court finds  that defendants are not
                      entitled to judgment as  a matter of law.
                      Defendants   have   not   been  able   to
                      establish the lack of a  genuine issue of
                      material     fact     regarding     their
                      discriminatory conduct towards plaintiffs
                      .  .  . .    [T]his  Court believes  that
                      defendants'  conduct towards  plaintiffs,
                      if  proven  true,  could   constitute  an
                      actionable claim under   1983.

          Order of the District Court, March 29, 1996.

                    The Order  leaves little doubt that  the district court

          determined that "the pretrial record  set[] forth a genuine issue

          of  fact."   Stella, 63  F.3d at  74.   In  light of  Johnson and
                       ______                                   _______

          Stella, the district  court's finding that there  exist issues of
          ______

          material  fact  is sufficient  for us  to  conclude that  we lack

          appellate jurisdiction.

                    For the foregoing reasons, we dismiss the appeal.
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